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 1                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
 2                                 OAKLAND DIVISION

 3   CYNTEC COMPANY, LTD.,

 4                  Plaintiff,

 5          v.

 6   CHILISIN ELECTRONICS CORP.,                             CASE NO.: 4:18-cv-00939-PJH
     CHILISIN AMERICA LTD.,
 7
                    Defendants.
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10                   [PROPOSED] JUDGMENT FOLLOWING JURY VERDICT
11          This action came before the Court for a trial by jury beginning August 23, 2021. The jury
12   rendered its verdict on September 1, 2021. The verdict was accompanied by the joint verdict form
13   (D.I. 269), a copy of which is attached hereto as Exhibit A.
14          On August 31, 2021, the Court issued an oral Order, inter alia, granting Plaintiff’s motion
15   for judgment as a matter of law of no invalidity of U.S. Patent Nos. 8,922,312 and 9,481,037.
16          IT IS HEREBY ORDERED AND ADJUDGED that judgment be and is hereby entered in
17   favor of the Plaintiff on the September 1, 2021 verdict as set forth in the attached verdict form and
18   in the Court’s August 31, 2021 Order.
19          IT IS FURTHER NOTED that this Judgment Following Jury Verdict is subject to revision
20   pursuant to any rulings on post-trial motions and/or motions regarding non-jury legal issues.
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22          IT IS SO ORDERED AND ADJUDGED.                              TA
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23   September 24, 2021.                                               IT IS S
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                                                             PHYLLIS JudgeJ.P HAMILTON
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                                                             UnitedE States District Court Judge
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     JUDGMENT FOLLOWING VERDICT                       -1-                               CASE NO. 4:18-CV-00939-PJH
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           EXHIBIT
           EXE BIT A
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                                     IN THE UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                             OAKLAND   DIVISION
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             CYNTEC COMPANY, LTD.                         CASE NO.: 4:18-cv-00939-PJH
ND
     [)




                            Plaintiff,                   JOINT VERDICT FORM
No
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                    v.                                    Trial Date: August 23, 2021
                                                          Time: 8:30 a.m.
     \S]
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             CHILISIN ELECTRONICS CORP.,                  Location: Courtroom 3, 3rd Floor
             CHILISIN AMERICA LTD.                        Judge: Hon. Phyllis J. Hamilton
No
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                            Defendants.
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No
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No
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No




             JOINT VERDICT FORM                                              CASE No. 4:18-cv-00939-PJH
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        Case 4:18-cv-00939-PJH
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            Instructions:      When answering the following questions and filling out this Verdict Form,

     please follow the directions provided throughout the form.             Your answer to each question must
WN




     be unanimous.    Please refer to the Jury Instructions for guidance on the law applicable to the

     subject matter covered by each question.
Bs




                                          QUESTIONS AND ANSWERS
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             We, the jury, unanimously agree to the answers to the following questions and return
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     them under the instructions of this court as our verdict in this case:
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     U.S. PATENT NO. 8,922,312 (THE ’312 PATENT)
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10                               FINDINGS ON INFRINGEMENT                        CLAIMS

11   A. Direct Infringement

12           1.   Has Cyntec proven that it is more likely than not that any Chilisin product infringes

13                any of the following claims of the *312 Patent?

14                   Answer the question regarding infringement of the following claims of the
15                    ’312 Patent with a “Yes” or “No.”            “Yes”   is a finding for Plaintiff
16                   Cyntec.     “No”    is a finding for Defendant Chilisin.

17                             Claim 1          Yes                         No
                                                  pede bee


18                             Claim 2          Yes                         No

19                             Claim 5          Yes                         No

20                             Claim 8          Yes

21                             Claim 10         Yes

22                             Claim 18         Yes

23   B. Inducing Infringement

24           2.   Has Cyntec proven that it is more likely than not: (i) that a third party direct infringer
25                infringed any of the following claims of the *312 Patent; (ii) that Chilisin took action
26                that actually induced that infringement by the third party direct infringer; and (iii) that
27                Chilisin was aware of the patent and believed that its actions would encourage
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     VERDICT FORM                                            -1-                          CASE No. 4:18-cv-00939-PJH
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                  infringement of a valid patent, or alternatively that it was willfully blind as to whether

                  its actions would encourage infringement of the patent?
HWN




                     Answer the question regarding infringement of the following claims of the

                      "312 Patent witha “Yes” or “No.”                  “Yes” isa finding for Plaintiff

                      Cyntec.      “No”     is a finding for Defendant Chilisin.
Wn




                                Claim 1            Yes     X                      No
OY




                                Claim 2            Yes _X                         No
NN




                                  Claim 5          Yes _X                         No
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                                  Claim 8          Yes _X_                        No
NO




10                                Claim 10         Yes _X                         No

11                                Claim 18 ~~ Yes         X                       No
12    C. Willful Infringement

13           3.   Has Cyntec proven that it is more likely than not that to the extent Chilisin infringed,

14                the infringement was willful?

15                    “Yes” is a finding for Plaintiff Cyntec.             “No”    is a finding for Defendant

16                    Chilisin.

17                                Yes     X                   No

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      VERDICT FORM                                                 2-                         CASE NO. 4:18-cv-00939-PTH
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     U.S. PATENT NO. 9,481,037 (THE 037 PATENT)

                                  FINDINGS ON INFRINGEMENT CLAIMS

     A. Direct Infringement

            4,   Has Cyntec proven that it is more likely than not that any Chilisin product infringes

                 any of the following claims of the 037 Patent?                                                        |

                    Answer the question regarding infringement of the following claims of the

                     ’312 Patent with a “Yes” or “No.”                    “Yes” is a finding for Plaintiff
NN




                     Cyntec.      “No”     is a finding for Defendant Chilisin.
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                               Claim 9              Yes    X                         No
OO




10                             Claim 12             Yes    X                         No

11   B. Inducing Infringement

12          5.   Has Cyntec proven that it is more likely than not: (i) that a third party direct infringer

13               infringed any of the following claims of the 037 Patent; (ii) that Chilisin took action

14               that actually induced that infringement by the third party direct infringer; and (iii) that

15               Chilisin was aware of the patent and believed that its actions would encourage

16               infringement of a valid patent, or alternatively that it was willfully blind as to whether

17               its actions would encourage infringement of the patent?                             |

18                  Answer the question regarding infringement of the following claims of the

19                   ’037 Patent witha “Yes” or “No.”                     “Yes” is a finding for Plaintiff

20                   Cyntec.      “No”       is a finding for Defendant Chilisin.

21                               Claim 9            Yes    X                         No

22                               Claim 12           Yes     X                        No

23   C. Willful Infringement

24          6.   Has Cyntec proven that it is more likely than not that to the extent Chilisin infringed,

25               the infringement was willful??

26                   “Yes” is a finding for Plaintiff Cyntec.                 “No”    is a finding for Defendant

27                   Chilisin.

28                               Yes     X                     No


     VERDICT FORM                                                   -3-                          CASE NO. 4:18-cv-00939-PJH
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                                       FINDINGS ON DAMAGES (IF APPLICABLE)
 No




                    7.   What lost profits, if any, did Cyntec prove it more likely than not suffered as a result
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                         of sales that it would with reasonable probability have made but for Chilisin’s
 ES




                         infringement?
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                                      $_1,£<2         493
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                    8.    For those infringing sales for which Cyntec has not proved its entitlement to lost
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                         profits, what has it proved it is entitled to as a reasonable royalty:
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                                      Royalty Rate      4~       %         Damages $_2207 4( 3
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            You have now reached the end of the verdict form and should review it to ensure it accurately
—
     w




            reflects your unanimous determinations.          The Presiding Juror should then sign and date the
     ESN
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            verdict form in the spaces below and notify the court personnel that you have reached a verdict.
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            The Presiding Juror should retain possession of the verdict form and bring it when the jury is
     AN
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            brought back into the courtroom.
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            VERDICT FORM                                             -4-                    CASE No. 4:18-cv-00939-PJH
